Case 1:20-cv-01174-PLM-PJG ECF No. 16, PageID.618 Filed 12/11/20 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 MICHIGAN ASSOCIATION OF
 NON−PUBLIC SCHOOLS, et al.,

          Plaintiffs,                         Case No. 1:20−cv−1174

     v.                                       Hon. Paul L. Maloney

 ROBERT GORDON,

          Defendant.
                                        /



                             NOTICE OF HEARING


 TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
 set forth below:


 Motion(s):             Motion for Preliminary Injunction (ECF No. 6)
 Date/Time:             December 14, 2020 01:00 PM
 District Judge:        Paul L. Maloney
 Place/Location:        by video


 Counsel of record may appear via video. Link information will be sent to counsel
 in advance of the hearing.


                                            PAUL L. MALONEY
                                            United States District Judge

 Dated: December 11, 2020            By:     /s/ Amy C. Redmond
                                            Case Manager
